        Case 2:05-cr-00125-MCE Document 245 Filed 07/06/07 Page 1 of 2


 1   ERIN J. RADEKIN
     Attorney at Law - SBN 214964
 2   428 J Street, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
 4
     Attorney for Defendant
 5   BRYANT JACOBS
 6
 7
 8
                                   UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,           )               Case No. 2:05-cr-00125-MCE
12                                       )
           Plaintiff,                    )               MOTION FOR CONTINUANCE
13                                       )               OF ADMIT/DENY HEARING;
           vs.                           )               STIPULATION AND ORDER
14                                       )
     BRYANT JACOBS, et al,               )
15                                       )
           Defendant.                    )
16   ____________________________________)
17                                                  –o0o–
18          The United States, through its undersigned counsel, and the defendant, through his
19   undersigned counsel, hereby agree and stipulate that the admit/deny hearing currently scheduled for
20   July 5, 2007 at 9 a.m. should be vacated and continued to August 9, 2007 at 9:00 a.m. in the
21   courtroom of Judge Morrison C. England, Jr.
22          This continuance is necessary to permit further negotiation and preparation of a stipulated
23   disposition by the parties.
24          The Court is advised that the parties have conferred about this request, that they have agreed
25   to the August 9, 2007 date, and that Ms. Skipper has authorized Ms. Radekin to sign this stipulation
26   on her behalf.
27   ///
28   ///
        Case 2:05-cr-00125-MCE Document 245 Filed 07/06/07 Page 2 of 2


 1   Dated: _______________                              McGREGOR W. SCOTT
                                                         United States Attorney
 2
                                                   By: /s/ Camil A. Skipper
 3                                                     CAMIL A. SKIPPER
                                                       Assistant U.S. Attorney
 4
     Dated: _______________                              /s/ Erin Radekin
 5                                                       ERIN RADEKIN
                                                         Attorney for Defendant
 6                                                       BRYANT JACOBS
 7
                                                 ORDER
 8
            IT IS HEREBY ORDERED that the admit/deny hearing currently scheduled for July 5, 2007
 9
     at 9:00 a.m. is VACATED, and the matter continued until August 9, 2007 at 9:00 a.m. for
10
     admit/deny hearing.
11
12    Dated: July 6, 2007

13                                                ________________________________
                                                  MORRISON C. ENGLAND, JR.
14                                                UNITED STATES DISTRICT JUDGE
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                   2
